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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                  TYLER DIVISION

UNITED STATES OF AMERICA                       §
                                               §
V.                                             §            CRIMINAL NO. 6:01-CR-32-7
                                               §
KEVIN MOSS                                     §


                         REPORT AND RECOMMENDATION OF
                         UNITED STATES MAGISTRATE JUDGE

       On May 8, 2008, the Court conducted a hearing to consider the government’s petition to

revoke the supervised release of Defendant Kevin Moss. The government was represented by

Richard Moore, Assistant United States Attorney for the Eastern District of Texas, and Defendant

was represented by Assistant Federal Public Defender Ken Hawk.

       Defendant originally pleaded guilty to the offense of possession with intent to distribute

cocaine, a Class B felony. The guideline imprisonment range, based on a total offense level of 25

and a criminal history of category III, was 70 to 87 months. On February 28, 2002, Defendant was

sentenced to 72 months imprisonment to be followed by 5 years supervised release subject to the

standard conditions of release, plus special conditions to include drug aftercare and financial

disclosure. On November 9, 2006, Defendant completed his period of imprisonment and began

service of the supervision term.

       In its petition, the government alleges that Defendant violated his conditions of supervised

release by committing the criminal offense of aggravated assault with a deadly weapon. If the Court

finds by a preponderance of the evidence that Defendant committed this violation, a statutory

sentence of no more than three years of imprisonment may be imposed. 18 U.S.C. § 3583(e)(3).

Pursuant to Section 7B1.1(a) of the Sentencing Guidelines, violating a condition of supervision by
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committing the offense of aggravated assault with a deadly weapon would be a Grade A violation,

for which the Court shall revoke supervised release. U.S.S.G. § 7B1.3(a)(2). Considering

Defendant’s criminal history category of III, the Guideline imprisonment range for a Grade A

violation is 18 to 24 months. U.S.S.G. § 7B1.4(a).

       At the hearing, Defendant pleaded not true to the allegations, based in large part on a pending

appeal in state court of a life sentence. The government introduced one exhibit, a copy of a certified

judgment of conviction from Smith County Court (Case Number 241-1786-07) for aggravated

assault with a deadly weapon. Defendant stipulated he was the same individual named in the

admitted judgment and conviction. Based on the presentation at the hearing, the Court found the

allegation of violation of supervised release to be true.

       For sentencing, the parties argued over whether the sentence should run concurrently or

consecutively with the state court sentence. The Court ultimately found that the sentence should run

concurrently with the judgment and sentence in Smith County Case Number 241-1786-07.

       Pursuant to the Sentencing Reform Act of 1984, the Court RECOMMENDS that Defendant

Kevin Moss be committed to the custody of the Bureau of Prisons to be imprisoned for a term of 24

months with no supervised release to follow, to run concurrently with Defendant’s state court

sentence in Smith County Case Number 241-1786-07.

       Within ten (10) days after receipt of the magistrate judge's report, any party may serve and

file written objections to the findings and recommendations contained in the report. A party's failure

to file written objections to the findings, conclusions and recommendations contained in this Report

within ten days after being served with a copy shall bar that party from de novo review by the district

judge of those findings, conclusions and recommendations and, except on grounds of plain error,


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from appellate review of unobjected-to factual findings and legal conclusions accepted and adopted
                         .
by the district court. Douglass v. United States Auto. Ass’n, 79 F.3d 1415, 1430 (5th Cir. 1996) (en

banc).




                       So ORDERED and SIGNED this 13th day of May, 2008.




                                                      ___________________________________
                                                                 JOHN D. LOVE
                                                      UNITED STATES MAGISTRATE JUDGE




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